     Case 2:14-cv-01646-RFB-DJA Document 121 Filed 02/25/20 Page 1 of 2



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15 Kohl’s Department Stores, Inc.
16                       UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA
17
   KIRBY SPENCER, individually and
18 on behalf of all others similarly
                                          Case No. 2:14-cv-01646-RFB-CWH
19 situated,
20                                           JOINT STIPULATION OF CASE
                Plaintiff,
21                                                   DISMISSAL
                v.
22 KOHL’S DEPARTMENT STORES,
23 INC.,
24
                Defendant.
25
26
27
28
     Case 2:14-cv-01646-RFB-DJA Document 121 Filed 02/25/20 Page 2 of 2



 1        IT IS HEREBY STIPULATED by and between Plaintiff, Kirby Spencer, and
 2 Defendant, Kohl’s Department Stores, Inc., through their undersigned counsel, that
 3 pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this entire action is
 4 dismissed with prejudice as to Plaintiff’s individual claims against Defendant and
 5 without prejudice as to the claims, if any, of the members of the putative class.
 6
 7 Dated: February 20, 2020                Respectfully submitted,
 8                                         MCGUIRE LAW, P.C.
                                           By: /s/ Eugene Y. Turin
 9                                         Eugene Y. Turin (admitted pro hac vice)
10                                         Attorneys for Plaintiff Kirby Spencer
11
     Dated: February 20, 2020              KELLEY DRYE & WARREN LLP
12                                         By: /s/ Lauri A. Mazzuchetti
13                                         Lauri A. Mazzuchetti (admitted pro hac vice)
14                                         Attorneys for Defendant
                                           Kohl’s Department Stores, Inc.
15
16
17 Pursuant to Stipulation, IT IS SO ORDERED.
18
                                        ____________________________________
                                      ________________________________
19                                      UNITED F.STATES     MAGISTRATE       JUDGE
                                      RICHARD      BOULWARE,        II
20                                    UNITED STATES DISTRICT JUDGE
                                        DATED:_____________________________
21                                    DATED this 25th day of February, 2020.
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